793 F.2d 1292
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.KONARD LYNGVAR, Plaintiff-Appellant,v.SECRETARY OF HEALTH AND HUMAN SERVICES, Defendant-Appellee.
    85-1956
    United States Court of Appeals, Sixth Circuit.
    5/1/86
    
      REMANDED
      E.D.Mich.
      ORDER
      BEFORE:  ENGEL, CONTIE and WELLFORD, Circuit Judges.
    
    
      1
      This matter is before the court upon the respondent's motion to remand this case to the Secretary for readjudication under the new mental impairment listings of 20 C.F.R. Sec. 404.
    
    
      2
      Upon consideration thereof, it is ORDERED that the motion be and hereby is granted.
    
    